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Local AO 442 (Rev. 10/11) Arrest Warrant

UNITED STATES DISTRICT COURT

 

DISTRICT OF NORTH DAKOTA
United States of America
v. )
Deante Edwards, a/k/a Tay Case No. 3:20-cr-42-06
)
ce eee vege )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Deante Edwards, a/k/a Tay ,
who is accused of an offense or violation based on the following document filed with the court:

 

@ Indictment 0) Superseding Indictment Information © Superseding Information O Complaint
(1 Probation Violation Petition (3 Supervised Release Violation Petition QO Violation Notice OC Order of the Court

This offense is briefly described as follows:

Conspiracy to Distribute and Possess with Intent to Distribute a Controlled Substance;
Maintaining a Orug-Involved Premise;

Possession with Intent to Distribute Oxycodone;

Aiding and Abetting; and

Forfeiture Allegation

 

 

 

 

 

Date: _02/20/2020 (s/ Jackie Stewart
— “Issuing officer's signature "
City and state: Fargo, ND Jackie Stewart, Deputy Clerk
Printed name and title
Return

 

’ ‘This warrant oe received on (date) A . Q (. led a) and the person was arrested on (date) _ \. LY. fl a4 6

at (city and state)

Date: A. 39 - dag 2 eH
oF ping phhoer Signature
= “ « * l
v t : Sid nalne and title

 

 

 

 
